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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT United States Courts

Southern District of Texas

 

 

 

 

for the FILED
Southern District of Texas October 28, 2022
United States of America ) Nathan Ochsner, Clerk of Court
V. )
) Case No. M-22-2098-M
David Alexander Aguirre-Lovo )
Citizen of El Salvador )
YOB: 1993
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 28, 2022 in the county of Rio Grande City in the
Southern _ istrict of Texas , the defendant(s) violated:
Code Section Offense Description
Title 18, U.S.C. 111(a)(1) whoever forcibly assaults, resists, opposes, impedes, intimidates, or

interferes with any person designated in section 1114 of Title 18 while
engaged in or on account of the performance of official duties.

This criminal complaint is based on these facts:

See Attachment A

[X] Continued on the attached sheet.

Approved by AUSA Michael Mitchell 10/28/22 /s/ Shanavia Lashay Carter

Complainant’s signature

Shanavia L. Carter- FBI Special Agent

Printed name and title

 

 

(m| Sworn to telephonically and signed electronically
per Fed.R.Cr.4.1

Ay _
Date: October 28, 2022 at 3:41 pm [Y

Judge’s signature

 

City and state: | McAllen, Texas U.S. Magistrate Judge Hon. Nadia S. Medrano

Printed name and title

 
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ATTACHMENT A

Affidavit in Support of Complaint
I, Shanavia Carter, being first duly sworn, state as follows:

1. I, Shanavia Carter, am a Special Agent (SA) with the Federal Bureau of Investigation (FBI) in McAllen,
Texas, and have been so employed since July 2022. I am currently assigned to the McAllen Border
Coruption Task Force in McAllen, Texas.

2. The information contained in this affidavit is based on my personal knowledge and on information
provided to me by other agents of the FBI, law enforcement officers, and other sources of information. This
affidavit serves to provide the probable cause in support of a complaint against David Alexander Aguirre-
Lovo for violating Title 18, United States Code, Section 111 (a)(1), whoever forcibly assaults, resists,
opposes, impedes, intimidates, or interferes with any person designated in section 1114 of Title 18 while
engaged in or on account of the performance of official duties.

3. On October 28, 2022, in accordance with his official duties as a Border Patrol Agent (BPA), BPA J.S.
was patrolling on shift from 10:00 p.m. to 8:00 a.m in an assigned area near Rio Grande City, Texas. At
approximately 3:40 a.m., during his patrol, BPA J.S .responded to activity called by Aerostat (Alpha 5).
BPA J.S headed North on foot to pursue a group of non-citizens.

4. During the pursuit BPA J.S. encountered a male individual later identified as David Alexander Aguirre-
Lovo. BPA J.S. made contact with David Alexander Aguirre-Lovo by grabbing him by the back of his shirt.
BPA J.S. struggled to restrain David Alexander Aguierre-Lovo, and in the altercation BPA J.S. was struck
on the side of the head. They both fell to the ground and BPA J.S. called out for assistance. TMD members
assisted BPA J.S. with finally subduing and handcuffing David Aelxander Aguierre-Lovo.

5. Subsequent to the assault from David Alexander Aguierre-Lovo , BPA J.S was transported to Starr
County Medical Hospital where he was medically evaluated and treated. BPA J.S. was diagnosed with a
Right Ear Laceration by the emergency room physician.

6. BPA J.S is a Border Patrol Agent, an officer and employee of the United States, namely a person
designated in section 1114 of Title 18.

7. Subsequent to David Alexander Aguirre-Lovo's apprehension, it was determined that David Alexander
Aguirre-Lovo was a citizen of El Savador and illegally present in the United States.

8. Based on the aforementioned information, your Affiant respectively submits that David Alexander
Aguirre-Lovo committed violations of Title 18, United States Code, Section 111(a)(1), Assaulting a Federal
Officer by physical contact.
